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1                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA
2

3    TRIBE COLLECTIVE LLC,                          Case No.    CIV-22-788-PRW
4
                            Plaintiff,              Removed from Case No. CJ-2022-1697;
5                                                   District Court of Oklahoma County, State
     v.                                             of Oklahoma
6

7    KINSALE INSURANCE COMPANY,

8                           Defendants.
9

10

11                                       NOTICE OF REMOVAL
12         Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Kinsale Insurance
13   Company (“Kinsale”), by and through its attorneys of record, hereby provides notice of
14   removal of Tribe Collective LLC v. Kinsale Insurance Company, Case No. CJ-2022-1697,
15   filed in the District Court of Oklahoma County, State of Oklahoma (the “State Court
16   Action”) to the United States District Court for the Western District of Oklahoma on the
17   basis of diversity jurisdiction. Removal is authorized and appropriate on the following
18   grounds:
19                           PROCESS, PLEADINGS, AND ORDERS
20         1.        28 U.S.C. § 1446(a) provides that “[a] defendant or defendants desiring to
21   remove any civil action from a State court shall file…a notice of removal signed pursuant
22   to Rule 11 of the Federal Rules of Civil Procedure and containing a short and plain
23   statement of the grounds for removal, together with a copy of all process, pleadings, and
24   orders served upon such defendant or defendants in such action.”
25         2.        Attached to the accompanying Declaration of Caleb McKee (“McKee
26   Decl.”) are the following documents which constitute the entire Court file in the State
27   Court Action:
28
           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE U.S. DISTRICT COURT
                                    (28 U.S.C. §§ 1441 & 1446)
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1                   a. Exhibit 1 is a true and correct copy of TRIBE COLLECTIVE LLC
2                      (“TRIBE COLLECTIVE”)’s Petition, styled as Tribe Collective LLC v.
3                      Kinsale Insurance Company, Case No. CJ-2022-1697, filed on April 13,
4                      2022, in the District Court of Oklahoma County, State of Oklahoma
5                      (“Petition”);
6                   b. Exhibit 2 is a true and correct copy of the Entry of Appearance of
7                      Counsel for TRIBE COLLECTIVE, James Thiessen;
8                   c. Exhibit 3 is a true and correct copy of the Entry of Appearance of
9                      Counsel for TRIBE COLLECTIVE, Kevin Combs;
10                  d. Exhibit 4 is a true and correct copy of the Entry of Appearance of
11                     Counsel for KINSALE, Caleb McKee;
12                  e. Exhibit 5 is a true and correct copy of KINSALE’s Answer to TRIBE
13                     COLLECTIVE’s Petition, filed on May 23, 2022;
14                  f. Exhibit 6 is a true and correct copy of the Return of Service, filed on
15                     June 3, 2022;
16                  g. Exhibit 7 is a true and correct copy of a printout of the District Court of
17                     Oklahoma, State of Oklahoma’s docket in the State Court Action.
18   McKee Decl. ¶¶ 3-9.
19                                     DIVERSITY OF PARTIES
20          3.      28 U.S.C. § 1332(a)(1) provides “[t]he district courts shall have original
21   jurisdiction of all civil actions where the matter in controversy exceeds the sum or value
22   of $75,000, exclusive of interests and costs, and is between citizens of different States.”
23          4.      As of the date of the filing of the original Petition in the State Court Action,
24   and continuing through the date of this Notice of Removal, Plaintiff TRIBE
25   COLLECTIVE was and still is an Oklahoma Limited Liability Company whose principal
26   place of business is located in Okemah, Oklahoma. As of the date of the filing of the
27   original Petition in the State Court Action, and continuing through the date of this Notice
28   of Removal:
           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE U.S. DISTRICT COURT
                                    (28 U.S.C. §§ 1441 & 1446)
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1                     a.     TRIBE COLLECTIVE has and had no individual members;
2                     b.     The only member of TRIBE COLLECTIVE was and is The Lower
3    80, LLC; and
4                     c.     TRIBE collective was and is a wholly owned subsidiary of The
5    Lower 80 LLC.
6    McKee Decl. ¶ 10(a), 10(b).
7    As of the date of the filing of the original Petition in the State Court Action, and
8    continuing through the date of this Notice of Removal, The Lower 80 LLC was and still
9    is an Oklahoma Limited Liability Company whose principal place of business was and is
10   located in Oklahoma City, Oklahoma. McKee Decl. ¶ 10(c).
11            5.      As of the date of the filing of the original Petition in the State Court
12   Action, and continuing through the date of this Notice of Removal, all of the members of
13   The Lower 80 LLC were and still are individuals who were and are all residents of the
14   State of Oklahoma with the intent to permanently remain as residents therein, and have
15   no current plans to move their domiciles from the State of Oklahoma. McKee Decl. ¶
16   10(d).
17            6.      As of the date of the filing of the original Petition in the State Court Action,
18   and continuing through the date of this Notice of Removal, the only members of The
19   Lower 80 LLC were Joseph Medley, whose domicile was and is located in Oklahoma City,
20   Chase Mattison, whose domicile was and is located in Oklahoma City, Nathan Mattison,
21   whose domicile was and is located in Oklahoma City, and Tyler Morey, whose domicile
22   was and is located in Oklahoma City. No person or entity other than these four individuals
23   was or became a member of The Lower 80, LLC at any time from the date of the filing of
24   the original Petition in the State Court Action, and continuing through the date of this
25   Notice of Removal. McKee Decl. ¶ 10(e).
26            7.      TRIBE COLLECTIVE is, therefore, a “citizen” of Oklahoma.
27            8.      As of the date of the filing of the original Petition in the State Court Action,
28   and continuing through the date of this Notice of Removal, Defendant KINSALE was and
              DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE U.S. DISTRICT COURT
                                       (28 U.S.C. §§ 1441 & 1446)
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1    still is an Arkansas Corporation and maintains its principal place of business in Richmond
2    Virginia. McKee Decl. ¶ 11.
3             9.      KINSALE is, therefore, a “citizen” of either Arkansas or Virginia, but not
4    Oklahoma.
5             10.     Accordingly, diversity of citizenship between TRIBE COLLECTIVE and
6    KINSALE exists under 28 U.S.C. § 1332(a) as required for removal pursuant to 28 U.S.C.
7    § 1446.
8                                  AMOUNT IN CONTROVERSY
9             11.     28 U.S.C. § 1446(c)(2)(B) provides “removal of the action is proper on the
10   basis of an amount in controversy…if the district court finds, by the preponderance of the
11   evidence, that the amount in controversy exceeds the amount specified in section 1332(a).”
12            12.     28 U.S.C. § 1332(a) provides “[t]he district courts shall have original
13   jurisdiction of all civil actions where the matter in controversy exceeds the sum or value
14   of $75,000, exclusive of interest and costs….”
15            13.     TRIBE COLLECTIVE has responded to KINSALE’s Request for
16   Admission No. 1 in the State Court Action that its claim for damages against KINSALE
17   exceeds $75,000. TRIBE COLLECTIVE also asserts that “the insured is seeking the
18   policy limit for cannabis product and the policy limit for lost profits.” The insurance
19   policy which is the subject of this action has a limit in excess of $75,000. McKee Decl. ¶
20   10(f).
21            14.     Therefore, KINSALE has met the amount in controversy requirement.
22                                          TIMELINESS
23            15.     28 U.S.C. § 1446(b)(2)(B) provides that “if the case stated by the initial
24   pleading is not removable, a notice of removal may be filed within thirty days after receipt
25   by the defendant, through service or otherwise, of an amended pleading, motion, order or
26   other paper from which it may first be ascertained that the case is one which is or has
27   become removable.”
28
              DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE U.S. DISTRICT COURT
                                       (28 U.S.C. §§ 1441 & 1446)
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1           16.     KINSALE received a copy of TRIBE COLLECTIVE’s Petition in the State
2    Court Action on or around April 13, 2022 via Fax & Email. Exhibit 1 to McKee Decl.,
3    Petition.
4           17.     The Petition does not identify the citizenship of TRIBE COLLECTIVE and
5    does not allege the amount in controversy. McKee Decl. ¶ 10. Therefore, KINSALE was
6    required to conduct jurisdictional discovery to ascertain those facts.             TRIBE
7    COLLECTIVE served its Responses to KINSALE’s Request for Admissions, Set Two
8    and Interrogatories, Set Two on September 6, 2022. These Responses were the first “other
9    paper from which it may first be ascertained that the case is one which is or has become
10   removable,” as they establish the facts upon which KINSALE relies to show the
11   citizenship of TRIBE COLLECTIVE (including its sole member, The Lower 80, LLC,
12   and the individual members of The Lower 80, LLC) as of the date of the filing of the
13   original Petition (April 13, 2022) and as of the date of this Notice of Removal. McKee
14   Decl. ¶ 12.
15          18.     KINSALE brings this Notice of Removal within 30 days of when it first
16   ascertained that the State Court Action was removable. McKee Decl. ¶ 13.
17          19.     Therefore, this Notice of Removal is timely filed in accordance with 28
18   U.S.C. § 1446.
19                                            VENUE
20          20.     Pursuant to 28 U.S.C. § 1441(a), venue for the removed action is proper in
21   this Court as it is in the district embracing the District Court of Oklahoma County, State
22   of Oklahoma, where the State Court Action is pending. Exhibit 1 to McKee Decl., Petition.
23                                            NOTICE
24          21.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice
25   of Removal will be given by the undersigned to TRIBE COLLECTIVE’s counsel of
26   record, James Thiessen and Kevin Combs of the law firm of COMBS THIESSEN PLLC,
27   and a copy of the Notice of Removal will be filed with the Clerk of the District Court of
28   Oklahoma County, State of Oklahoma. McKee Decl. ¶ 14.
           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE U.S. DISTRICT COURT
                                    (28 U.S.C. §§ 1441 & 1446)
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1           22.    KINSALE is the only named defendant in the State Court Action and hereby
2    consents to the removal of the State Court Action to this Court. McKee Decl. ¶ 15.
3           23.    Based on a reasonable investigation, it is well grounded in fact and
4    warranted by law that this Notice of Removal is not interposed for any improper purpose,
5    such as to harass or cause unnecessary delay or needless increase in the cost of litigation.
6    McKee Decl. at ¶ 16.
7           WHEREFORE, KINSALE respectfully request that the above-captioned action,
8    pending in the District Court of Oklahoma County, State of Oklahoma, Case No. CJ-2022-
9    1697, be removed from that court to this Court.
10
     Dated: September 6, 2022                          Respectfully submitted,
11
                                                       HOLDEN LITIGATION, Holden P.C.
12

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           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE U.S. DISTRICT COURT
                                    (28 U.S.C. §§ 1441 & 1446)
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